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12   Attorneys for Plaintiffs WhatsApp Inc. and
     Facebook, Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
16
     WHATSAPP INC., a Delaware corporation,
                                       )
17   and FACEBOOK, INC., a Delaware    )           Case No. 4:19-cv-07123-PJH
     corporation,                      )
18                                     )
                     Plaintiffs,       )           ADMINISTRATIVE MOTION FOR
19                                     )           LEAVE TO FILE PORTIONS OF
            v.                         )           MEMORANDUM OF POINTS AND
20                                     )           AUTHORITIES IN SUPPORT OF
     NSO GROUP TECHNOLOGIES LIMITED )              PLAINTIFFS’ MOTION TO STRIKE
21   and Q CYBER TECHNOLOGIES LIMITED, )           AFFIRMATIVE DEFENSES UNDER
                                       )           SEAL
22                   Defendants.       )
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         Case 4:19-cv-07123-PJH Document 139 Filed 09/10/20 Page 2 of 3




 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rules 7-11 and 79-5, plaintiffs, by and through their counsel,

 3   respectfully submit this Administrative Motion for an order permitting them to file under seal

 4   portions of the Memorandum of Points and Authorities in Support of Plaintiffs’ Motion to Strike

 5   Affirmative Defenses (the “Memorandum”).

 6          Plaintiffs request that portions of the Memorandum be filed under seal pursuant to Civil

 7   Local Rules 79-5(c) and (d) because they refer to materials that have been designated as “Highly

 8   Confidential – Attorney’s Eyes Only” by Defendants pursuant to the August 31, 2020 Stipulated

 9   Protective Order (ECF No. 132) in the above-captioned action, and Defendants have sought leave

10   to file those materials, and all references to those materials, under seal (ECF No. 133). Plaintiffs

11   take no position as to whether the designated documents satisfy the requirements for sealing, and

12   specifically reserve the right to challenge any confidentiality designations as well as the sealability

13   of the documents at issue.

14          Plaintiffs will lodge with the Court an unredacted copy of the Memorandum in accordance

15   with Civil Local Rule 79-5. Plaintiffs file concurrently herewith the Declaration of Antonio J.

16   Perez-Marques in support of this motion and a proposed sealing order.

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     ADMINISTRATIVE MOTION FOR LEAVE TO FILE PORTIONS OF MEMORANUM IN SUPPORT OF PLAINTIFFS’ MOTION TO
     STRIKE AFFIRMATIVE DEFENSES UNDER SEAL – CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 139 Filed 09/10/20 Page 3 of 3




 1   Dated: September 10, 2020                    Respectfully Submitted,

 2                                                DAVIS POLK & WARDWELL LLP
 3
                                                  By: /s/ Antonio J. Perez-Marques
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 5                                                    Antonio J. Perez-Marques
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                                                        Attorneys for Plaintiffs WhatsApp Inc. and
17                                                      Facebook, Inc.

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     ADMINISTRATIVE MOTION FOR LEAVE TO FILE PORTIONS OF MEMORANUM IN SUPPORT OF PLAINTIFFS’ MOTION TO
     STRIKE AFFIRMATIVE DEFENSES UNDER SEAL – CASE NO. 4:19-CV-07123-PJH
